         Case 1:25-cv-10495-IT         Document 38          Filed 03/21/25   Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                        Plaintiffs,

              v.                                   Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.,

                        Defendants.


   PLAINTIFFS’ SUPPLEMENTAL MOTION TO PROCEED UNDER PSEUDONYM

       Pursuant to Federal Rule of Civil Procedure 5.2(e), Plaintiffs Andrea Doe, Marim Doe,

Aleksandra Doe, Teresa Doe, and Rosa Doe (collectively, the “new Doe Plaintiffs”) respectfully

move the Court for a supplement to the March 3, 2025 Order (Doc. No. 8) permitting certain

plaintiffs to proceed in this litigation using pseudonyms to protect their identities from public

disclosure.

       As with the prior order, the new Doe Plaintiffs request that they be permitted to maintain

the confidentiality of their identities by using only pseudonyms and redacting other identifying

information in their filings, including all exhibits in which their names appear. The new Doe

Plaintiffs are willing to disclose their identities to the Court and the Defendants’ counsel under

seal, pursuant to a jointly agreed-upon protective order.

       As explained in the Memorandum of Law in Support of Plaintiffs’ Supplemental Motion

to Proceed Under Pseudonym, filed herewith, the new Doe Plaintiffs are beneficiaries or applicants

of dedicated parole processes established by the Biden administration for nationals of Ukraine (the

“Uniting for Ukraine” or “U4U” parole process); nationals of Cuba, Haiti, Nicaragua, and

Venezuela (the “CHNV” parole processes); Central American Minors and eligible family members
         Case 1:25-cv-10495-IT         Document 38       Filed 03/21/25      Page 2 of 6




(the “CAM” parole process); and the immediate family members of U.S. military servicemembers

(the “Military Parole-in-Place” or “MPIP” process). Defendants have now terminated these parole

processes and have also placed an indefinite administrative pause on the processing of all

applications for immigration benefits filed by or on behalf of individuals paroled into the United

States under these processes. Because individuals paroled under U4U, CHNV, CAM, and MPIP

are given legal status (and work permits, if eligible) that typically last for only two years, many

parole beneficiaries apply for other immigration benefits, including Temporary Protected Status

(“TPS”), asylum, and lawful permanent residency (or “green cards”), each of which can provide

an alternate and more stable legal status. But because of the indefinite administrative pause on the

processing of such applications, none of these applications will be adjudicated. Without any ability

to apply for and receive an alternate legal status, some of the new Doe Plaintiffs will lose their

protection against deportation and be vulnerable to removal as their individual grants of parole

expire. Others will lose the ability to have their family members lawfully with them in the United

States following the termination of the aforementioned parole processes.

       Accordingly, the new Doe Plaintiffs reasonably fear that compelled disclosure of their

identities could cause them or their family members unusually severe harm, including in the form

of apprehension and deportation from the country by Defendants when their individual grants of

parole expire, or violence, persecution, and/or imprisonment in their home countries. For example,

Marim Doe is an active-duty member of the U.S. Navy who applied for MPIP for his father, but

now that his MPIP application was paused, Marim and his family live in fear that his father will

be apprehended. Marim Doe Decl., Doc. No. 24-14, ¶¶ 2, 11, 19. Andrea Doe and her family fled

to the United States because her husband was tortured and imprisoned for years for protesting

Daniel Ortega’s regime. Doc. No. 27-1, ¶¶ 3-9. Rosa Doe has family members conditionally




                                                 2
         Case 1:25-cv-10495-IT         Document 38        Filed 03/21/25      Page 3 of 6




approved for CAM parole, and she fears that public disclosure of her name in connection with this

lawsuit could cause retaliation against them from the U.S. government and harm to her daughter

in Honduras. Rosa Decl., Doc No. 24-16 ¶¶ 8, 21.

       The new Doe Plaintiffs therefore respectfully request that the court permit them to proceed

in this litigation under pseudonym.

       The new Doe Plaintiffs’ motion is based upon this Motion, the Memorandum of Law in

Support of Plaintiffs’ Supplemental Motion to Proceed Under Pseudonym filed herewith, the

supporting Declarations of Andrea Doe, Marim Doe, Aleksandra Doe, Teresa Doe, and Rosa Doe

previously filed (Doc Nos. 27-1, 24-14, 24-17, 24-15 & 24-16), the Amended Complaint, such

other evidence and argument as may be submitted on this Motion, and such other matters of

which the Court may take judicial notice.

       For the reasons set forth, Plaintiffs respectfully request that the Court enter an Order:

   1. Granting the new Doe Plaintiffs leave to proceed in this matter under pseudonyms;

   2. Ordering that all parties shall submit pleadings, briefing and evidence either (a) using the

       new Doe Plaintiffs’ pseudonyms instead of their real names and other personally

       identifying information or (b) redacting the new Doe Plaintiffs’ names and other personally

       identifying information.

   3. Ordering the parties to continue to confer on and submit a joint protective order that will

       permit the Doe Plaintiffs to reveal their identities to the Court and to Defendants’ counsel

       under seal if and when required by the Court, but which will prevent disclosure of

       Plaintiffs’ identities to Defendants;




                                                 3
     Case 1:25-cv-10495-IT        Document 38        Filed 03/21/25     Page 4 of 6




4. Ordering that Defendants’ counsel will not publicly disclose the names or personally

   identifying information of the Doe Plaintiffs after Defendants’ counsel learn their names

   and personally identifying information; and

5. Requiring that any nonparty who is informed of a Doe Plaintiff’s identity shall be provided

   a copy of the Order by the disclosing party and shall also be subject to the Order.

A proposed order is attached hereto.




                                            4
       Case 1:25-cv-10495-IT       Document 38           Filed 03/21/25       Page 5 of 6




Dated: March 21, 2025                              Respectfully submitted,

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                                               5
          Case 1:25-cv-10495-IT        Document 38         Filed 03/21/25      Page 6 of 6




                       CERTIFICATE UNDER LOCAL RULE 7.1(a)(2)

         The plaintiffs, through their counsel, conferred with the defendants’ counsel pursuant to

Local Rule 7.1(a)(2), but were unable to reach an agreement by the time this motion was filed.

Dated: March 21, 2025

                                               /s/ John A. Freedman
                                               John A. Freedman




                                  CERTIFICATE OF SERVICE

         I, John A. Freedman, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).


Dated: March 21, 2025

                                               /s/ John A. Freedman
                                               John A. Freedman




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